Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 1 of 26 Page ID
                                 #:10597
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 2 of 26 Page ID
                                 #:10598
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 3 of 26 Page ID
                                 #:10599
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 4 of 26 Page ID
                                 #:10600
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 5 of 26 Page ID
                                 #:10601
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 6 of 26 Page ID
                                 #:10602
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 7 of 26 Page ID
                                 #:10603
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 8 of 26 Page ID
                                 #:10604
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 9 of 26 Page ID
                                 #:10605
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 10 of 26 Page ID
                                  #:10606
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 11 of 26 Page ID
                                  #:10607
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 12 of 26 Page ID
                                  #:10608
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 13 of 26 Page ID
                                  #:10609
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 14 of 26 Page ID
                                  #:10610
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 15 of 26 Page ID
                                  #:10611
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 16 of 26 Page ID
                                  #:10612
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 17 of 26 Page ID
                                  #:10613
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 18 of 26 Page ID
                                  #:10614
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 19 of 26 Page ID
                                  #:10615
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 20 of 26 Page ID
                                  #:10616
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 21 of 26 Page ID
                                  #:10617
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 22 of 26 Page ID
                                  #:10618
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 23 of 26 Page ID
                                  #:10619
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 24 of 26 Page ID
                                  #:10620
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 25 of 26 Page ID
                                  #:10621
Case 2:04-cv-09049-DOC-RNB Document 1298-3 Filed 12/19/07 Page 26 of 26 Page ID
                                  #:10622
